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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             GREENWOOD DIVISION

    UNITED STATES OF AMERICA                      )    CRIMINAL NO.: 8:19-00181
                                                  )
                                                  )
                 v.                               )
                                                  )
    EDDIE LEE CHILDS, JR., a/k/a,                 )
    “Speedy”                                      )
    TREVOR MAURICE HULL                           )

         NOTICE OF DEMAND FOR DISCLOSURE OF ALIBI DEFENSE

       Pursuant to Fed. R. Crim. P. 12.1, you are hereby informed that on January 28,

2019 from Greenwood County, South Carolina to Richland County, South Carolina, there

was committed the crimes conspiracy to possess with intent to distribute heroin,

possession with intent to distribute and distribution of heroin, travel and transportation in

aid of drug trafficking and use of a telephone to facilitate a felony drug offense, with

which you are charged by Superseding Indictment (ECF No. 286) 1. Demand is hereby

made upon you to furnish the Government with a written notice of your intention to offer

a defense of alibi within 14 days of this demand.

       In the event you intend to offer a defense of alibi, demand is also made upon you

to disclose the specific place or places you claim to have been at the time of the offense,

and the names and addresses of the witnesses upon whom you intend to rely to establish

such an alibi.

                              [SIGNATURE PAGE TO FOLLOW]

1
  As the defendant is charged in count one, a conspiracy that spans from 2016 through the date
of the Superseding Indictment, the period indicated is not the entire time period of the offense(s).
                                                1
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                                    Respectfully submitted,

                                    SHERRI A. LYDON
                                    UNITED STATES ATTORNEY

                             BY:     s/Leesa Washington
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November 27, 2019




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